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MKM;MKP/TH
F.#2017R01840                                                           2018 APR 19 PH U: 19
UNITED STATES DISTRICT COURT                                             n c rcViKiC't COjBf
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EASTERN DISTRICT OF NEW YORK                                                           vr^:;K
                                    ---X


UNITED STATES OF AMERICA                               INDICTMENT


       - against -                                       CB 18                                  204
                                                       (T. 18, U.S.C.,§§ 1591(a)(1),
KEITH RANIERE,                                          1591(a)(2), 1591(b)(1), 1594(a),
    also known as "Vanguard," and                       1594(b), 1594(c), 1594(d), 2 and 3551
ALLISON MACK,                                           et^.; T.21,U.S.C., § 853(p))

               Defendants.
                                                                       GARAUEIS, J.
                                        X
THE GRAND JURY CHARGES:
                                                                       SCANLON, M.J.
                                         COUNT ONE
                             (Sex Trafficking - Jane Does 1 and 2)

               1.     In or about and between February 2016 and June 2017, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants KEITH RANIERE, also known as "Vanguard," and ALLISON MACK, together

with others, did knowingly and intentionally: (I) recruit, entice, harbor, transport, provide,

obtain, advertise, maintain, patronize and solicit one or more persons, to wit: Jane Does 1

and 2, individuals whose identities are known to the Grand Jury, in and affecting interstate

and foreign commerce, and attempt to do the same; and (2) benefit, and attempt to benefit,

financially and by receiving a thing of value, from participation in a venture which had

engaged in such acts, knowing that means of force, threats of force, fraud and coercion, and a
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combination of such means, would be used to cause such persons to engage in one or more

commercial sex acts.


               (Title 18, United States Code, Sections 1591(a)(1), 1591(a)(2), 1591(b)(1),

1594(a),2 and 3551 ^seg.)

                                        COUNT TWO
                                (Sex Trafficking Conspiracy)

              2.       In or about and between February 2016 and June 2017, both dates

being approximate and inclusive, within the Eastem District of New York and elsewhere,the

defendants KEITH RANIERE,also known as "Vanguard," and ALLISON MACK,together

with others, did knowingly and intentionally conspire to:(1)recruit, entice, harbor, transport,

provide, obtain, advertise, maintain, patronize and solicit persons,in and affecting interstate

and foreign commerce; and(2)benefit, financially and by receiving a thing of value, from

participation in a venture which was to have engaged in such acts, knowing that means of

force, threats offorce, fraud and coercion, and a combination ofsuch means, would be used

to cause such persons to engage in one or more commercial sex acts, contrary to Title 18,

United States Code, Sections 1591(a)(1), 1591(a)(2), and 1591(b)(1).

              (Title 18, United States Code, Sections 1594(c)and 3551 et seq.J

                                       COUNT THREE
                    (Conspiracy to Commit Forced Labor- Jane Doe 1)

              3.       In or about and between February 2016 and Jime 2017, both dates

being approximate and inclusive, within the Eastem District of New York and elsewhere, the

defendants KEITH RANIERE,also known as "Vanguard," and ALLISON MACK,together

with others, did knowingly and intentionally conspire to provide and obtain the labor and

services of a person, to wit: Jane Doe 1, by means of serious harm and threats of serious
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harm to her and one or more other persons, and by means of one or more schemes, plans and

patterns intended to cause Jane Doe 1 to believe that, if she did not perform such labor and

services, Jane Doe 1 and one or more other persons would suffer serious harm, contrary to

Title 18, United States Code, Sections 1589(a)(2) and 1589(a)(4).

              (Title 18, United States Code, Sections 1594(b) and 3551 et seq.J

                         CRIMINAL FORFEITURE ALLEGATION


              4.      The United States hereby gives notice to the defendants that, upon their

conviction of any ofthe offenses charged herein, the government will seek forfeiture in

accordance with Title 18, United States Code, Section 1594(d), of(a)any property, real or

personal, that was involved in, used, or intended to be used to commit or to facilitate the

commission of such offenses, and any property traceable to such property; and(b)any

property, real or personal, constituting or derived from,proceeds obtained directly or

indirectly as a result of such offenses, or any property traceable to such property.

              5.      If any ofthe above-described forfeitable property, as a result of any act

or omission ofthe defendants:


                     (a)      cannot be located upon the exercise of due diligence;

                     (b)      has been transferred or sold to, or deposited with, a third party;

                     (c)      has been placed beyond the jurisdiction ofthe court;

                     (d)      has been substantially diminished in value; or

                     (e)      has been commingled with other property which cannot be

divided without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendants up to the value ofthe forfeitable

property described in this forfeiture allegation.

              (Title 18, United States Code, Section 1594(d); Title 21, United States Code,

Section 853(p))



                                                                 A TRUE BILL




                                                                 LORLPLRSON




RICHARD P. DONOGHUL
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
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F.#2017R01840

FORM DBD-34           No.
JUN. 85



                             UNITED STATES DISTRICT COURT

                                           EASTERN District of NEW YORK

                                                   CRIMINAL DIVISION


                                    THE UNITED STATES OF AMERICA


                                       KEITHRANIERE, also known as "Vanguard,"
                                                     and ALLISON MACK,

                                                                                   Defendants.


                                                    INDICTMENT
                            (T. 18, U.S.C., §§ 1591(a), 1591(b), 1594(a), 1594(b), 1594(c),
                                  1594(d), 2 and 3551         T. 21,U.S.C., § 853(p))

                            A true bill

                                                                           I
                                                                                      Foreperson


                      Filed in open court this                      day,

                      of                         A.D.20


                                                                                              Clerk



                      Bail, $




                             Moira Kim Penza and Tanya Hajjar, Assistant U.S. Attorneys
                                                          (718)254-7000
